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                                                      THE HONORABLE JOHN C. COUGHENOUR
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 6
                                UNITED STATES DISTRICT COURT
 7
                               WESTERN DISTRICT OF WASHINGTON
 8                                       AT SEATTLE

 9          UNITED STATES OF AMERICA,                         CASE NO. CR15-0120-JCC
10                             Plaintiff,                     FINAL ORDER OF FORFEITURE
11                     v.

12          DONALD K. JORDAN,

13                             Defendant.
14

15          This matter comes before the Court on motion of the United States for entry of a Final
16   Order of Forfeiture with respect to $1,407.00 in U.S. Currency (“property”) seized on April 21,
17   2015 (Dkt. No. 1046). The Court, having reviewed the United States’ motion, as well as other
18   pleadings and papers filed in this matter, hereby APPROVES entry of a final order of forfeiture
19   for reasons explained herein.
20          In the plea agreement entered on October 19, 2015, Defendant Donald K. Jordan
21   ("Defendant") forfeited his interest in the above-listed property pursuant to 2l U.S.C. § 853.
22   (Dkt. No. 364 at ¶ l2.) On February 26, 2016, this Court entered a Preliminary Order of
23   Forfeiture finding the above-listed property forfeitable pursuant to 2l U.S.C. § 853 and ordering
24   Defendant’s interest in the property be forfeited. (Dkt. No. 542.) The United States subsequently
25   complied with applicable notice requirements. (Dkt. Nos. 615, 1047); see 2l U.S.C. § 853(n)(l);
26   Fed. R. Crim. Pro. 2.2(b)(6)(C), 32.2(b)(6)(A). The time for filing third-party petitions has



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 1   expired, and none were filed. See 2l U.S.C. § 853(n)(2).

 2          The Court therefore ORDERS as follows:

 3          l. No right, title, or interest in the above-listed property exists in any party other than the

 4   United States;

 5          2. The above-listed property is fully and finally condemned and forfeited, in its entirety,

 6   to the United States; and,

 7          3. The Department of Justice, and/or its representative, is authorized to dispose of the

 8   above-listed property as permitted by governing law.
 9          DATED this 25th day of October 2017.




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                                                            John C. Coughenour
13                                                          UNITED STATES DISTRICT JUDGE
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